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RECE\\JEO C
mo FiLEi)C,C

ita 21 Fi" 1 m

Fill in this information to identify your Ca$ei

Debtor 1 DEL|A RODRiGUEZ

 

 

 

 

2 FmNum¢ mademe i.mN¢me U 3 BANKRUPTC\\' CGU;:;
(SDOuse.irfiling) F'mmm¢ Miad¢Nam¢ MARY A SCHOTT, CLE
United Statee Bankrupto/ Court for the: Dlstrlct of Nevada
essenqu 17-10457 El Check if this is an
‘"""°W") amended &|ing

 

Ofi'icial Form 1068um
Summary of Your Assets and Liabllities and Certain Statistical lnformation 12115

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
infonnatlon. Fill out all of your schedules tirst; then complete the information on this form. if you are filing amended schedules after you tile
your original forms, you must fill out a new Summary and check the box at the top of thls page.

 

Your assets
Value of what you own

1. Schedule A/B.' Proper?y (Official Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Totai real estate, from Schedule A/B .......................................................................................................... $ _M
1b. Copy line 62, Totai personal property, from Schedule A/B ............................................................................................... $ 1 ,300.00
1c. Copy line 63, Totai of all property on Schedule A/B ......................................................................................................... $ 1,300_00
Summarize Your Llabilltles
Your liabilities

Amount you owe

2. Schedule D.' Creditors Who Have Claims Secu/ed by Properry (Oflicial Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Pan 1 of Schedule D ............ $ 0'00

3. Schedule E/F.' Creditors Who Have Unsecu/ed Claims (Official Form 106E/F)

3a. Copy the total claims from Pan 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ __M

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6} of Schedule E/F ....................................... + $ 26,270_00

 

 

 

 

 

your tom liabilities $ 26»270~00
Summarizo Your lncomo and Expensos
4. Schedule I.' Your Income (Ol‘licial Form 106|) 2 351 00
Copy your combined monthly income from line 12 of Schedule I .......................................................................................... $ 4
5. Schedule J: Your Expenses (Oflicial Form 106J)
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ ___M

Official Form 1063um Summary of Your Asse\s and Liabilitles and Certaln Statlstical information page 1 of 2

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own DELiA RoDRiGuEz C.,s.,m,r,,.,,,,(,km,,n,17-10457

First Name Midde Name Lnt Name

Part 4: Ansvvor Thoso Quostlons for Adminlstratlvo and Statistical Rocords

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

n No. ¥ou have nothing to report on this pari of the form. Check this box and submit this form to the court with your other schedules

§ yes

7_ What kind of debt do you have?

m Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
iamily, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes 28 U.S.C. § 159.

n Your debts are not primarily consumer debts. ¥ou have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

8. From the Statement of Your Cument Monthly Income: Copy your total current monthly income from thcial
Form122A-1 Line 11; oR, Form 1225 Lirre 11; oR, Form 1220-1 Lirre 14. 5 3,873.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Totai claim
From Part 4 on Schedule E/F, copy the following:

Qa. Domestic support obligations (Copy line 6a.) $_______G;_CQ
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $_.__.___.____M
9e. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $________.___&99.
9d. Student loans. (Copy line 6f.) $____M
9e. Obligations arising out_ of a separation agreement or divorce that you did not report as 5 O_OO

priority ciarms. (Copy line 6g.) ________
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0.00
sg. Totai. Add lines 9a through 91. 3 6,825.00

 

 

 

Ofticial Form 1068um Summary of Your Asseis and Llabllltles and Ceru|n Statlstlcal lnfonnation page 2 of 2

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Fill iri this iniorlriatiori to identify your ease allrl this filing:

gagnon DELlA RODR|GUEZ

F‘nt N\rne Midde Name

 

Debtor 2
(Spouse, lfilling) Fi¢t Name Midide Name

 

United States Bankruptcy Court for the: Districi of Nevada

1 7-1 0457

Case number

 

 

 

Oflicial Form 106A/B
Schedule AlB: Property

 

ill check if this is an
amended liiing

12115

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think lt fits best Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,

write your name and case number (lf known). Answer every question.

Part 1: Doscrlbo Each Rosidonco, Building, Land, or other Roal Estato You own or l'llvo an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, iand, or similar property?

m No. Go to Part 2.

n Yes. Where is the property?
What is the property? Check all that apply.

El singrefamily horne
1'1` street address ir available or other description n Dup‘ex or mu‘u`unit bu"di"g
n Condominium or cooperative
n Manufactured or mobile home
n Land
n investment property
n Tlmeshare
n Other

 

 

 

Clty State ZlP Code

 

Who has an interest in the property? Check one.

El Debtor 1 oniy
County n Debtor 2 only
El Debtor 1 and Debtor 2 only
n At least one of the debtors and another

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credr'tors Who Have Ciaims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

$ $

Descrlbe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), lt known.

 

El check lr this rs community property
(see instructions)

other information you wish to add about this item, such as local

property identification number:

 

if you own or have more than one, list here:
What is the property? Check all that appry.
El singiefamiiy home

1'2' Street address if available or other description n Dup'ex °' mum`un" bu“dmg

n Condominium or cooperative

El Manuraotured or mobile home

Cl Land

n investment property

n Timeshare

n Other

 

 

 

Clty Sla'(e ZlP Code

 

Who has an interest in the property? Check one.

n Debtor1 only
County L_.l Debtor 2 only
El Debtor 1 and Debtor 2 only
n At least one of the debtors and another

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credr'tors Who Have Claims Secured by Pmperiy

Current value of the Current value of the
entire property? portion you own?
$ $

Describe the nature of your ownership
interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

 

n Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Ofl'lcla| Form 106A/B Schedule AlB: Prop€rty

page 1

Case 17-10457-ml<n

gemi DEL|A RODR|GUEZ

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FintNai-ne Midde Neme

1.3.

Lis(Name

 

Street address, if available, or other description

 

 

City State

ZlP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. erte that number here. ...................................................................................... -)

Descrlbe Your Vehicles

What is the property? Check all that apply.
l:l singieramiiy home

l:l Dupiex or multi-unii building

a Condominium or cooperative

n Manufactured or mobile home

n Land

n investment property

n Timeshare

n Other

 

Who has an interest in the property? Check one.

n Debtor 1 only

l:l Debtor 2 only

l:l oebior 1 and Debtor 2 only

a At least one of the debtors and another

Case number (irirrioimi 1 7'10457

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors iM)o Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

Cl check ir this is community property
(see instructions)

Other infomiatlon you wish to add about this item, such as local

property identification number:

 

 

$ 0.00

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle, also report lt on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

m No
n Yes

3,1, Make:
Modei:
Year:
Approxlmate mileage:

Other inforrnatlon:

 

|f you own or have more than one, describe here:

3_2_ Make:
Modei:
Year:
Approxlmate mileage:

Other information:

Offlcial Form 106A/B

Who has an interest ln the property? Check one.
n Debtor 1 only

l:l Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El cheek ir this is community property (see
instructions)

Who has an interest in the property? Check one,
l:l Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if thls is community property (see
insiructions)

Schedule AlB: property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Propeity.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Cmditors Who Have Claims Secumd by Property.

Current value of the Current value of the
entire property? portion you own?

page 2

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Approxlmate mlleage:

Other information:

Who has an interest ln the property? Check one.

n At least one of the debtors and another

a Check if this is community property (see

Who has an interest in the property? Check one.

Debtor1 DELlA RODR|GUEZ
First Name Midde Neme Last Name
3.3_ Make:
Modei: Cl Debior 1 only
Y v a Debtor 2 only
earl Ci Debtor 1 and Deblor 2 only
Approxlmate mileage:
Other information:
Y instructions)
3.4. Make:
Modei: a Debtor1 only
cl Debtor 2 only
Year:

cl Debtor 1 and Debtor 2 only
a At least one of the debtors and another

n Check if this is community property (see
instructions)

Case number iiiimowiii 17'10457

Do not deduct secured claims or exemptions Put
li'ie amount ol any secured claims on Schedule D:
Credltols Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount ot any secured claims on Schedule D:
Credilors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boais, trailers, motors, personal watercrali, fishing vessels, snowmobiles, motorcycle accessories

m No
a Yes

4_1_ Make:
Modei:
Year:

Other information;

if you own or have more than one, list here:

Make:
Modei:

Year:

4.2.

Other information:

 

Who has an interest in the property? Check one.
a Debtor 1 only

n Debtor 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

a Check if this is community property (see
insiructions)

Who has an interest in the property? Check one,
cl Debtor 1 only

cl Debtor 2 only

cl Debtor 1 and Debtor 2 only

a At least one of the debtors and another

a Check |f this is community property (see
lnstructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditols Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Cieditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........................................................................................................................ -)

Oflicial Form 106AlB Schedule AlB: Property page 3

 

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wm DELlA RooRiGuEz CasenumberM,",17-10457

deNam¢ MddeNeme LaetName

 

 

Describo Your Persona| end Househoid items

 

 

Do you own or have any legal or equitable interest in any of the io|iowing items? $m" ;:;u:::‘;h°
Dc not deduct secured claims
or exemptions

6. Household goods and fumlshlngs

Examples: Major appliancesx fumiture, iinens, china. kitchenware
m No . . .
a Yes. Describe ......... $

7. Eiectronlcs

Examples: Televisions and radios; audio. video, stereo, and digital equipment; computers, printers, scanners'. music
collections; electronic devices including cell phones, cameras, media players, games
m No . . t , t
D Yes. oescn'be .......... y $
8, Coliectibies of value
Examples: Antiques and ligurines; paintings, prints, or other artwork; books, plctures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
m No . _ , , , . , , t
Ci Yes. oescn'be .......... $
9. Equipment for sports and hobbies
Examples: Sports, photographicx exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis; cances
and kayaks; carpentry tools; musical instruments
mNo , . , ., , t. ,, ,,
a Yes. Describe .......... $

10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

m No v

a Yes, Describe .......... . $
11.Ciothee

Examples.' Everyday clothes, furs, leather coats, designer wear, shoes, accessories

DNo `_ . ,, , V..

E Yes. Describe .......... l pERSQNAL |TEMS l $ 300.00
12.Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

goid, silver

m No

D Yes. Descnbe ........... $
13. Non-farm animals

Examples: Dogs, cats, blrds, horses

m No t , _ , .

a Yes. Describe ........... $

14. Any other personal and household items you did not already list, including any health aids you did not list

m No
a Yes. Give specific '
information .............. y v l y 1 w ` $

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached s 390 00

for Part 3. Write that number here .................................................................................................................................................... ') '

 

 

 

Ofiiciai Form 106AlB Schedule AlB: Property page 4

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newa DELlA RODRlGuEz Casenum,,¢e,(,,,nc,wn,17-10457

Fist Name Midde Name bestName

 

 

Pa rt 4: Describe Your Financiai Assets

 

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Dc not deduct secured claims
or exen‘ptions.
16. Cash
Examples.' Money you have in your waiiet, in your home, in a safe deposit box, and on hand when you hle your petition
m No
cl Yes ................................................................................................................................................................ Cash: _______________________ $

17. Deposits of money
Examples: Checking, savings. or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.

ElNo

m Yes ..................... institution namet

17.1. Checking account CHASE BANK

17.2. Checking account

 

17.3. Savings account

 

17.4. Savings account

 

17.5. Certiiicates of deposit

 

17.6. Other hnancial account

 

17.7. Other hnanciai account

 

17.8. Other hnanciai account:

 

€B€B€B€B€B€B€B€B€B

17.9. Other hnanciai account

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

mNo

cl Yes ................. institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

m No Name of entity: % of cwnership:
cl Yes. Give specific O% %
information about ,,/
them ......................... 0 ° %
0% %

 

Ofiiciai Form 106A/B Schedule AlB: Property page 5

Case 17-10457-mkn

Debtor1 DELlA RODR|GUEZ

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Case number (irkmw,.) 1 7"1 0457

 

Fist Name Midde Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

mNo

Cl ¥es. Give specific
information about

issuer name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
21. Retirement or pension accounts
Examples.' interests in lRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
m No
Ei Yes. Llsi each
account separately Type of account: institution narne:
401 (l<) or similar plan: $
Pension plan: $
lRA: $
Retirement ac<x>unt: $
Keogh: $
Additionai ac<x>unt: $
Additionai account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landiords, prepaid rent, public utilities (eiectric, gas, water). telecommunications
companies, or others
m No
cl ¥es .......................... institution name or individuai:
Elecin'c $
Gas: $
Heating oii: $
Secun`ty deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented fumiture: $
Othe .
r s
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
cl ¥es .......................... issuer name and description
$
$

 

Ofiiciai Form 106A/B

Schedule AIB: Property

page 6

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own DELlA RoDRlGuEz Caw,,um¢,e,mm,wn,17-10457

FirstName MddeName LedName

 

 

24.lntereste in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
m No

cl Yes """""""""""""""""""""""" institution name and description Separately file the records of any interests,11 U.S.C. § 521(c):

 

 

 

25.Truete, equitable or future interests in property (other than anything listed in line ‘i), and rights or powers
exercisable for your benefit

mNo

C] Yes. Give specific
information about them.... $

26. Paterits, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements

mNo

C] Yes. Give speciiic
information about them....v j $

27. Liceneee, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association hoidings, liquor licenses, professional licenses

m No
C] Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured

claims or exemptions

26.Tax refunds owed to you

El No

m Yes. Give specific information . 1 000 00
about them including whether 2016 TAX REFUND ANTiCiPATED Federal. $_»_~__
you already filed the returns Staie:
and the tax years. .......................

Locel: $

29. Famlly support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement

m No
El Yes. Give specific information ..............

Alimony: $
Maintenance: $
Support.' $
Divorce settlement $
Property settlement $
30. Cther amounts someone owes you
Examples: Unpald wages, disability insurance payments disability benefits. sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
m No
n Yes. Give specific information ...............
$

Ofiicial Form 106AlB Schedule AlB: Property page 7

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M1 DELlA RODRiGuEz C`.M,,m,,,,,,e,wkm,wn,17-10457

Fi¥t Name dee Name last Name

 

 

31. interests in insurance policies
Examples: Hea|th, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

mNo

n Yes' Name the insurance company Company name: Beneficiary: Surrender or refund value;
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

mNo

n Yes. Give specific information ..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes. insurance claims, or rights to sue

mNo

n Yes. Describe each claim. ....................

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

m No
n Yes. Describe each claim. ....................

35.Any financial assets you did not already list
n No

m Yes. Give specific information ............

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 $____1_£_09_'_09_

 

 

 

Part 5= Describe Any Buslness-Related Property You Own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
n Yes. Goto line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions
38.Acc0unts receivable or commissions you already earned
n No
n Yes. Describe .......
$

39. Office equipment, fumlshings, and supplies
Examples: Business-related computers, software, moderns, printers, copiers, tax machines, rugs, telephones desks, chairs, electronic devices

n No
Ei Yes. Describe .......

Ofiicial Form 106A/B Schedule AIB: Property page 8

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Demm DELlA RODR|GUEZ Casenumbe,(,.,km,wn,17-10457

Fi!! Name Midde Nlme Llll Nlme

 

 

40. Machinery, fixtures, equipment1 supplies you use in business, and tools of your trade

w No

n Yes. Describe ....... $
41.lnventory

Cl No

Cl Yes. Describe ....... $

42. interests in partnerships or joint ventures

UNo

a Yes. Describe ....... Name of entity % of ownershlp:

% s
% s
% s

 

 

43. Customer lists, mailing lists, or other compilations
Cl No
Cl Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

Cl No
Cl Yes. Describe. .......

44.Any business-related property you did not already list
Cl No

Ci Yes. Give specific
information .........

 

 

 

 

 

$€69999$$

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. erte that number here .................................................................................................................................................... ")

 

 

 

Describe Any Farm- and Commarciai Flshlng-Related Property You Own or Have an interest ln.
if you own or have an interest in farmiand, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farrn- or commercial fishing-related property?
g No. Go to Part 7.
Cl Yes. Go to line 47.

Current value of the

portion you own?
Do not deduct secured claims
or exemptions
47. Farm animals

Exemp/es: Livestock, poultry, farm-raised fish

a No

Cl Yes ..........................

$

Oiicial Form 106A/B Schedule AlB: Property page 9

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newa oEl_lA RooRlGuEz ease numbe,(,.,wm, 17-10457

 

 

F'ntName MlddeNlme bastName

48. Crops-elther growing or harvested

UNo

Cl Yes. Give specinc
infon'nation. ............ $

49.Farrn and fishing equipment, lmplements, mechlnery, fixtures, and tools of trade
i:l No

i:l Yes ..........................

50. Farm and fishing supplies, chemicals, and feed

i:l No
i:l Yes ..........................

51.Any ferrn- and commercial fishing-related property you did not already list
i:l No

i:l Yes. Give specliic
information ............. $

 

52. Add the dollar value of ali of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................................... 9

 

 

mbesch Ali Froperty You Own or Have an interest in That You Dld Not List Above

 

53. Do you have other property of any kind you did not already list?
Exemples: wesco tickets country club membership

 

 

 

 

 

 

 

E No
CI Yes. Give specific
lnfon'nation .............
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 0'00
Lisi: the Totals of Each Part of this Form
55. Part 1: Totai real estate, line 2 .............................................................................................................................................................. 9 $ 0'00
56. Part 2: Totai vehicles, line 5 $ 0'00
57. Part 3: Totai personal and household items, line 15 $ 300'00
sa.Pan 4: rural financial assem, line 36 $ 1900-00
59. Part 5: Totai business-related property, line 45 $ 0'00
60. Part 6: Totai farm- and fishing-related property, line 52 $ 0'00
61.Part 7: Totai other property not llsted, line 54 + $ 0-00
62. Totai personal property. Add lines 56 through 61. .................... $ 1’300'00 Copy personal property total 9 + $ 1,300-00
ea. Tolal or all property on schedule A/a. Add line 55 + line 62. ......................................................................................... $ 1300-00
Oflicial Form 106A/B Schedule AlB: Property page 10

 

 

 

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16 Page 13 of 44

Fill m this information to identify your case:

Debtor1 DELlA RODR|GUEZ

Firat Name Midde Name l.lm Name

 

Debtor 2
(Spou$e, 'if Hling) First Name Midde Name Last Name

 

United States Bankrupto/ Court for the: District of Nevada

Case number 17"10457 n Check if this iS ali

(if known)

 

amended filing

 

Off'lcia| Form 106C
Schedule C: The Property You Cialm as Exempt runs

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B.' Property (Ofiicia| Form 106AIB) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2.' Additional Page as necessary. On the top of any additional pages write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you cialm. One way of doing so is to state a
specific dollar amount as exempt. Altemativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory iimit. Some exemptions_such as those for health aids, rights to receive certain benefits and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is detennlned to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Cialm as Exempt

 

1. Whlch sat of exemptions are you cialmlng? Check one only, even if your spouse is filing with you.

w You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l;l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you listen Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
§;'§§,ip,io,,: P_Easouauleus_ $300.00 i;i$ NRS 21.09013
Line from m 100% of fair market value, up to
Schedule A/B'. 1 1 any applicable statutory limit
Brief
description: ----__ $ a $
me from El 100% of fair market value, up to
Schedule A/B_- __ any applicable statutory limit
E;'§§n.mio,,; zms_mxial:i=uuo_ stooo.oo or NRS 21.09012
Line from E 100% of fair market value, up to
Schedule A/B; 28 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,315?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

MNO

l;l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l;l No
l;l Yes

Ofiicial Form 106C Schedule C: The Property You Cialm as Exempt page 1 of__

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16 Page 14 of 44

Fill in this information to identify your case:

Debion DELlA RODR|GUEZ

 

th Name Midde Name Last Name

Debtor 2

 

(Spouse, if filing) Fm Narnc Middle Name

United States Bankruptcy Court for the: Dlsirict of Nevada

Case number 17-10457

(if knownl

 

 

 

Ofiicial Form 106D

 

Cl check lflhls is an

Schedule D: Creditors Who Have Ciaims Secured by Property

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space ls needed, copy the Addltional Page, fill it out, number the entries, and attach lt to this fonn. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

w No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Ci Yes. Fill in all of the information helow.

Lis¢ All secured claims

Column A Column B

2. Llst all secured claims. if a creditor has more than one secured claim, list the creditor separately Amount of claim
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor‘s name.

121

 

Creditors Name

 

Number Slreet

 

 

Ciiy Siale ZlP Code

Who owes the debt? Check one.

n Debtor 1 only

E] Dohlcr 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

E] check if this claim relates to a
community debt

.Defs‘l€*zt!'“ insured ., , ,

 

CrBdliDl"S Name

 

Number Street

 

 

city stale ziP code

Who owes the debt? Check one.

E] Deblor 1 only

a Debtor 2 only

C] Debtor1 and Dehlor 2 only

n At least one of the debtors and another

Cl check if this claim relates to a
community debt

P#,fe d°bf'~“‘n¢“"edv .

Add the dollar value of your entries in Column A on this page. Write that number here:

Oflicial Form 106D

l . L§§.'._‘_.‘,n?i§?f. ?F°?n!lt. _,',‘“."‘b§',?

Describe the property that secures the clalm: $ $

As of the date you flie, the claim is: Check all trial apply.

cl Contingent

E] unliquidated

E] Disputed

Nature of iien. check ali that apply

a An agreement you made (such as mortgage or secumd
car loan)

n Slatutory lien (such as tax lien, mechanic’s lien)

C] Judgmenl lion from a lawsuit

Cl other (lncluding a light lo offsel)

*:?*§.‘_4,$"9‘?3{ 9' FP.‘?‘?"'!§ ,"_“_'F‘b°'_,?

Describe the property that secures the ciaim: $ $

 

 

As of the date you fi|e, the claim is: Check all trial apply.
a Contingent

Cl unliquidated

n Disputed

Nature of lien. Check ali that apply.

a An agreement you made (such as mortgage or secured
car loan)

n Statutory lien (such as tax lien, mechanics lien)

n Judgment lien from a lawsuit

E] other (lncluding a right to olsen

Schedule D: Credltors Who Have Claims Secursd by Property

amended ming

12/15

Column C

Vaiue cf collateral Unsecured

Dom¢mm thatsupportstills portion
value or collateral. claim

ltany

pagel of____

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16 Page 15 of 44

Fiii iii this information to identify y<_)iir cach

mmi Di=_i.iA RoDRicuEz

 

Fm Name Midde Name

M!°f 2
(Sp°use, if filing) th Name Middl Name

 

 

United States Banl<rupto/ Court for the: District of Nevada

17-10457 Cl check itthie ic an
%?i?°io'l`i'ii“°e' amended tiiing

 

 

Oflicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims izits

Be as complete and accurate as possible. Use Fart 1 for creditors with PRlORlTY claims and Part 2 ior creditors with NONPR|ORITY claims.
Llst the other party to any executory contracts or unexpired leases that could result ln a clalm. Also list executory contracts on Schedule
A/B: Property (Ofllcla| Form 106AlB) and on Schedule G: Ex¢cut‘ory Contrac|s and Unexplred l.eases (Cifltclal Form 1066). Do not include any
creditors with partially secured claims that are listed ln Schedule D: Credr'tors Who Have Clelms Secured by Property. ll‘ more space ls
needed, copy the Part you need, ll|| lt out, number the entries ln the boxes on the left. Attech the Contlnuation Page to thls page. On the top of
any additional pages, write your name and case number (lf known).

 

 

Ll¢f All of Your PRlORlTY Unsoc\lr.d Clllms

 

1. Do any creditors have priority unsecured claims against you?
a No. Go to Part 2.

D Yes.

2. Llst all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed. identify what type of claim it ls. if a claim has both priority and nonprlon'ty amounts, list that claim here and show both priority and
nonprion'ty amounts. As much as possibia, list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claims, lill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of clalm, see the instructions for this form in the instruction bookiet.)

Totai claim Priority Nonprlority
amount

 

 

 

 

 

 

 

 

 

 

 

 

 

 

amount
2.1
Last 4 digits of account number __ ___ ___ _____ 5 $ $
Pitoiity creditors Name
When was the debt incurred?
Number Sireel
As of the date you flle, the claim ls: Check all that apply
city state ziP code m C°mi"g°m
i.`.] unliquidated
Who incurred the debt? Check one. n Disputed
n Debtor1 only
i] Dehtor 2 only Type ol‘ PRlORlTY unsecured clalm:
g Dem 1 and new 2 °n'y n Domestic support obligations
At least one of meyewa and another n Taxes and certain other debts you owe the government
El check lt this claim le for a community debt n mem for death or persona, injury wm you were
lathe claim subject to offset? ‘m°’d““ed
i] No L_.l other. specify
D.Y¢S., . _ . . ,
122 l Last4 digits ofaccount number __ ____ ____ ____ 3 5 $
Pn`ority Crieditor‘s Name
When was the debt incurred?
Number Streel
As of the date you file. the claim ls: Check all that apply.
n Contingent
city state ziP coco El unliquidated
Who incurred the debt? Check one. n Disputed
El oeotor 1 only
T f PRlORl n l l :
unsworsz ypeo TYusecuredcam

n Domeatic support obligations
n Taxes and certain other debts you owe the government
n Ciaims for death or personal injury willie you were

L_.l Debtor1 andoemotzonly
i] Atieaetoneofthedectcrsand another

iJ check ir this claim ic for a community debt

 

intoxicated
ls the claim subject to offset? ij Other. Specify
n No
n Ves

Otliclai Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 1 of_

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16 Page 16 of 44

wm DELlA RODRlGuEz

 

F'nt Name Middle Name Last Name

Llst All of Your NONPRlOR|TY Unsecurod Claims

Case number (lrknown) 17'10457

 

3. Do any creditors have nonpriortty unsecured claims against you?

n No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims till out the Continuation Page of Part 2.

E:] PROGRESS|VE lNSURANCE

 

 

 

Nonpriority Creditofs Name

PO BOX 101 1 0

Number Street

OLUMB|A MO 65205
City State ZlP Code

Who incurred the debt? Check one.

Z Debtor 1 only

Cl Debtor 2 only

C] Debtor1 and Deolcr 2 only

n At least one of the debtors and another

l'.] Check if this claim is for a community debt
ls the claim subject to offset?

Z No
n Yes

|:2_| AARON RENTS

 

 

 

 

Nonpriority Creditofs Name

300 E PACES FERRY

Number Street

ATLANTA GA 30303
City State ZlP Code

Who incurred the debt? Check one.

Z Debtor 1 only

Cl Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

l'.] check if this claim ls for a community debt

ls the claim subject to offset?

U No
n Yes

F'a_| MICHELA DEPT OF ED

Nonpn'ority Creditofs Name

 

 

733 SPlRlT DR

Number Street

CHESTERF|ELD MO 63005
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

uNo
DYes

Otiicial Form 106E/F

Schedule ElF: Credltors Who Have Unsecured Claims

Totai claim

Last 4 digits of account number£ g _§ i s 61478_00

when was the debt incurred? 01/19/2017

As of the date you file, the claim is: Check all that apply.

n Contingent
C] unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as prion'ty claims

n Debts to pension or profit-sharing plans, and other similar debts

q Other. specify C|VlL LAWSU|T

 

Last a digits of account number _ _ _ _ s 924.00
When was the debt incurred? 04/23/201 1

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Ob|igations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or pront-sharing plans, and other similar debts

q Other. Specify

 

Last 4 digits of account number __ __ _ ___ s 61825_00

When was the debt incurred? 04/30/2010

As of the date you flle, the claim is: Check all that apply.

n Contingent
C] unliquidated
Cl Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

l'.] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or pront-shan'ng plans, and other similar debts

C] omcr. specify

 

page _ of __

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16 F;%g§_ll? of 44

wm DELlA RODRlGuEz

Flrst Name Midde Name Last Name

Case number llrlvicwn) 17'

Your NONPR|0R|T¥ Unsocurled Claims - Continuation Page

 

 

 

 

 

 

 

 

Alter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so torth. Totai claim
4.4 - -
PROFESS|ONAL DEBT Last 4 °'9"3 °' “°°°"“‘ "“"‘b°’ -- _ -- -- 3 1,750.00
';°;p;;wBC/::,n;;:EN:;:-SOWS When was the debt incuned? 1 0/29/2010
TR:KSO§“\;TLLE FL 32256 As cl the date you file, the claim is: Check all that apply.
cry state zlP Code Cl contingent
Cl unliquidated
Who incurred the debt? Check one, m Disputed

q Debtor1 only

0 Debtor 2 only

0 Debtor1 and Debtor 2 only

0 At west one of the debtors and another

cl Check if this claim is for a community debt

 

 

 

 

ls the claim subject to offset?
d No
0 ¥es
` NCA
Nonpriority Creditors Name
PO BOX 550
Number Street
HUTCHlNSON KS 67504
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

Cl Deolor 2 only

Ci chtor 1 and Daoior 2 only

Ci At east one of the debtors and another

U Check if this claim is fora community debt
ls the claim subject to offset?

inc
O¥es

SENTRY RECOVERY

Nonpn'ority Credltor‘s Name

3090 S DURANGO

Number Street

LAS VEGAS NV 891 17

 

Cil'y State ZlP Code

Who incurred the debt? Check one.

a cablor 1 only

Cl Debtor 2 only

cl Debtor1 and Debtor 2 only

0 At least one of the debtors and another

Cl Check lt this claim is for a community debt
le the claim subject to offset?

MNo
Cl¥es

Ofiicia| Form 106E/F

Type of NONPRlOR|TY unsecured claim:

0 Student loans

0 Ob|igations arising cut of a separation agreement or divorce that
you did not report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts
id othei. specify RlVERVlEW APTS

Last 4 digits ol account number 5 1,252.00

when was tha debt incuncd? 01/15/2013

As of the date you file, the claim is: Check all that apply.

0 Contingent
Ci unliquidated
0 Disputed

Type of NONPRlOR|TY unsecured claim:

cl Student loans

0 Obligations arising out of a separation agreement or divorce that
you did not repon as priority claims

0 Debm to pension or profit-sharing pierls, and other similar debts

g Other. Speciry AARON

s 1,959.00
Last 4 digits of account number ___ _

When was the debt incurred? 06/09/2015

As ot the date you file, the claim is: Check all that applyl

0 Contingent
Ci unliquidated
Ci Disputed

Type of NONPRlOR|TY unsecured claim:

cl Student loans

0 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debw to pension or profit-sharing plans, and other similar debts

§ other specify AMBER RlDGE APTS

Schedule ElF: Credltors Who Have Unsecured Claims page __ of ___

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16 Pa 59718 of 44

Debtor1 DELlA RODR|GUEZ

 

First Name Midde Name Last Name

Case number t)rkncwn) 1 '

Your NCNPRICRITY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Totai claim
4.7 . .

AZTEC AUTO SAL_ES Last 4 digits of account number _ ____ ___ _ $ 4’406_00

Nonpnomy Creditors Name "____
- 7 01/01/2013

ADDRESS NOT PROVlDED W"°" "“ "‘° "°°‘ '"°“"°" -__

Number Street As of the date you file, the claim is: Check all that apply.

City stale zlP code l:l Contingent

_ El unliquidated
Who incurred the debt? Check one. n Disputed

U Debtor 1 only

n Debtor 2 only

0 Debtor1 and Debtor 2 only

n At least one of the debtors and another

0 Check it this claim is for a community debt
is the claim subject to offset?

 

 

 

g No
Cl ves
- QUANTUM COLLECT|ONS
Nonprionty Credltors Name
ADDRESS NOT PROVlDED
Number Street
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

El Debtorz only

El Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l:l Check it this claim is for a community debt
is the claim subject to offset?

 

 

 

g No

n ¥es

CONVERGENT OUTSOURC|NG

Nonpriority Credltofs Name

ADDRESS NOT PROVlDED

Number Street

City State ZlP Code

Who incurred the debt? Check one.

q Debtor 1 only

0 Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

0 Check lf this claim ls for a community debt
is the claim subject to offset?

mr No
Cl yes

thclal Form 106E/F

Type of NONPR|0R|TY unsecured claims

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

0 Debts to pension or protit-sharing plans, and other similar debts

d other specify

Last 4 digits of account number ___

__________ $

803.00
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
El Disputed

Type of NONPR|0R|TY unsecured claim:

0 Student loans

0 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debis to pension or profit-sharing plans, and other similar debts

d other specify LVAC

$ 1 ,1 1 1 .00
Last 4 digits of account number ___ ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

0 Contingent
Cl unliquidated
El Disputed

Type of NONPR|0R|TY unsecured claim;

0 Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

id one spain sPRlNT

Schedule ElF: Credltors Who Have Unsecured Claims page _ of__

Case 17-10457-ml<n Doc 11 Entered 02/22/17 10:12:16

Debtor1 DELlA RODR|GUEZ

 

F'lst Name Middie Name Last Name

P 19 of 44
Case number ruinowni 17'1&9§

 

Your NoNPRl°RlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Totai claim
10 . .
DlVERS|F|ED CONSULTANT Las“ d'g'ts °fa°°°""t number -- _ -_ _ 3 762.00
Nonpn'ority creditors Name _ 07/28/201 6
W h red?
ADDRESS NoT PROVlDED "°" "’°S‘ ° °°°‘ "‘°“' _~_
N°m°°r S"°e‘ As or the date you file, the claim is: cheek all that apply
City state ziP code Cl contingent
_ El unliquidated
Who incurred the debt? Check one. cl Disputed

q Debtor1 only

n Debtcr 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl cheek ii this claim is for a community debt
ls the claim subject to offset?

d No
cl Yes

 

 

Nonpriority Credltors Name

 

Numbar Street

 

City State Z|P Code

Who incurred the debt? Check one.

El Debtor 1 only

Cl center 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?

cl No
n Yes

 

Nonpriority Creditors Name

 

Number Street

 

city state ziP code

Who incurred the debt? Check one.

El Debtor 1 only

a Debtor 2 only

El Debtor1 and oeotor 2 only

cl At least one of the debtors and another

Cl cheek if this claim refer a community debt

ls the claim subject to offset?

n No
a Yes

Ofiicia| Form 106E/F

Type of NONPR|0R|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or protit-shaling plans, and other similar debts

g other speoiry AT&T

Last 4 digits of account number _

________ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
Cl unliquidated
cl Disputed

Type of NONPR|0R|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

El other. specify

Last 4 digits of account number ___

When was the debt lncurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
a Disputed

Type of NONPR|0R|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

cl Other. Speciiy

Schedule ElF: Credltors Who Have Unsecured Claims page _ of _

Case 17-10457-ml<n

Debtor1 DELlA RODR|GUEZ

th Name

Mldde Name

Last Name

DOC 11 Entel’ed 02/22/17 10212:16

Add the Amounts for Each Type of Unsecured Claim

Case number (irknewrri 1

P

7-1

81405¢/ 20 of 44

 

6. Totai the amounts of certain types of unsecured claims. Thls information is for statistical reporting purposes oniy. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

Totai claim
T°m dam 6a, Domestic support obligations 6a. $ O_OO
from paru 6b. Taxes and certain other debts you owe the
government 6b. $ 0.00
6c. Claims for death or personal injury while you were
intoxicated 6c. s 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here 6d. + $ O_OO
6e. Total. Add lines 6a through 6d. 6e.
$ 0.00
Totai claim
T°wl claims 6f. Student loans 6f. s 61 825_00
fr°m pan 2 69. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims eg_ i________figo_
6h. Debts to pension or profit-sharing pians, and other
similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured ciaims.
Write that amount here. 6i. + $ 19,445-00
6j. Total. Add lines 6f through 6i. 612
s 26,270.00

Ofiicia| Form 106E/F

 

 

 

Schedule EIF: Credltors Who Have Unsecured Claims

page _ of _

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Fi|| in this information to identify your caso:

De¢,¢°, DELlA RODR|GUEZ

F'nt Name Midde Name

 

Debtor 2
(Spouse |f i'lling) Flret Name Midde Name

 

United States Bankruptcy Court for the: Districi Of Nevada

17-10457
cr;lial::o::)mber cl Check if this is an

amended filing

 

 

 

Ofi'lcial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

lnformation. lf more space is needed, copy the additional page, fl|l it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
q No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Ofiicial Form 106A/B).

2. Llst separately each person or company with whom you have the contract or lease. `l`hen state what each contract or lease ls for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instniction booklet for more examples of executory contracts and
unexpired leases.

Peison or company with whom you have the contract or lease State what the contract or lease is for

241

 

Name

 

Number Street

 

City State ZlP Code

2.2

Name

 

 

Number Streei

 

City State ZlP Code
2.3

 

Name

 

Number Street

 

City State ZlP Code
2.4

Name

 

 

Number Street

 

City State ZlP Code
2.5

Name

 

 

Number Street

 

City State ZlP Code

thcial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _

Case 17-10457-mi<n DOC 11 Entered 02/22/17 10:12:16 Page 22 of 44

Fill in this information to identify your case:

Debtor1 DELlA RODR|GUEZ

F`nt Name Midde Name

Debwr 2
(SpOl.ls€, ifh|ir\g) stt Name Midde Name Last Name

 

United States Bankruptcy Court for the: District Of Nevada
Case number 17'10457

(lf known)

 

Cl check if this is an
amended filing

 

Ofi”icia| Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct lnfonnatlon. lf more space is needed, copy the Addltlonal Page, fill it out,

and number the entries in the boxes on the ieft. Attach the Additlonal Page to this page. On the top of any Additiona| Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are iling a joint case, do not list either spouse as a codebtor.)

m No
El Yes

2. Within the last 8 years, have you lived in a communlty property state or territory? (Community property states and territories include
Arizona, Ca|ifomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

El No. Go to line 3.
d Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

EiNo

a Yes. |n which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. Llst the person
shown in line 2 again as a codebtor only if that person is a guarantor or coslgner. Make sure you have listed the creditor on
Schedule D (foicial Form 1060), Schedule E/F (Offlclal Form 106ElF), or Schedule G (Offlclal Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

Check all schedules that apply

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
N a Schedule D, line __
ama
a Schedule E/F, line
Number street n Schedule G, line
city state ziP code
3.2
Name U Schedule D, line
EJ Scheduie E/F, line ___
Number street U Schedule G, line
city state ziP code
3.3
Name U Schedule D, line
EJ Schedule E/F, iine ____
Number street E] Schedule G, line
city stare ziP code

thcial Form 106H Schedule H: Your Codebtors page 1 of _

7 10212:16 Page 23 Of 44

Fill in this information to identify your casc:

Debtor1 DELlA RODR|GUEZ

Fbst Name Midde Name Last Name

Debtor 2
(SpOUSB, if filing) F`l'st Name Midde Name Last Name

 

United States Bankruptcy Court for the: District of Nevada

Case number 17'10457 CheCk if fhiS iSI

(if known)

 

i:l An amended filing

i:l A supplement showing postpetition chapter 13
income as of the following date:

Officiai FOl'm 106| m

Schedule l: Your income 12/15
Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying conect information. lf you are married and not filing jolntly, and your spouse is living with you, include information about your spouse.

if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this fonn. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employm¢nt

 

 

1. Fill in your employment
information. D€bf°l’ 1 Debtor 2 or non-filing spouse

 

if you have more than one job,

attach a separate page with
information about additional Emp'°ym°"t Status m Emp|°¥ed n Emp|°yed
employers n Not employed n Not employed

include part-time, seasonal, or

self-em lo d work.

" "° occup,,,°,, coLLEcToR
Occupation may include student
or homemaker, if it applies.

Employer’s name CRED|T ACCEFTANCE

Empl°yer’$ address 2460 PASEO VERDE

Number Street Number Street

 

 

HENDERSON NV 89074
city state ziP code city State ziP code

 

How long employed there? 1YR 1YR

Give Details About Monthly lncome

Estlmate monthly income as of the date you tile this form. if you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for ali employers for that person on the lines
below. if you need more space. attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 31873_00 $
3. Estimate and list monthly overtime pay. 3_ + $ + $
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 3,873-00 $

 

 

 

 

 

Officiai Form 106| Schedule l: Your income page 1

Case 17-10457-mi<n Doc 11 Entered 02/22/17 10:12:16 Page 24 of 44

 

 

 

Debtor1 DELlA RODR|GUEZ Case number <i'rimwni 17'10457
F‘nt Name Midd|e Name Last Name
For Debtor 1 For Debtor 2 or
non-filing §pguse
Copy line 4 here ............................................................................................... ') 4. $ 3,873-00 $

5. Llst all payroll deductions:

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ 285.00 $
5b. Mandatory contributions for retirement plans 5b. $ $
5c. Voluntary contributions for retirement plans 50. $ 228.00 $
5d. Required repayments of retirement fund loans 5d. $ 80.00 $
5e. insurance 5e. $ 146-00 $
5f. Domestic support obligations 5f. $ $
59. Unlon dues 59. $ $
sit other deductions speciry: GARNlSHMENT 5h. +$ 783.00 + $
e. Add the payroii deductions Add lines 5a + 5b + sc + 5a + se +5f + ag + sit 6. $ 1,522.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2,351 -00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
reoeipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a ___
8b. interest and dividends 8b. $ $
8c. Famlly support payments that you, a non-filing spouse, or a depenth
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement 8c. ____
8d. Unemployment compensation 8d. $ $
8e. Social Security 8e. $ $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Speclfy: 8f. $_____ $
8g. Pension or retirement income 89. $ $
8h. Other monthly income. Specify: 8h. + $ + $
9. Add all other lncome. Add lines Sa + 8b + 8c + 8d + 8e + 8f +89 + 8h. 9. $ $
10.Ca|culate monthly income. Add line 7 + line 9. + _ 2 351 00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $-_»-- $ _ ’ '

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your househoid, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

Speclfy: 11. + $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Wn'te that amount on the Summary of Your Assets and Liabilities and Certain Statistr'cal lnformation, if it applies 12. $_g_’§M
Comblned

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

cl No.

 

 

q Yes. Expiain: GARNlSHMEN STOP

 

 

 

Officiai Form 1061 Schedule l: Your income page 2

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Fill in this information to irii\ntiiy your case

mt QE\;LQ RODR|GUEZ mm check if this is:

 

center 2 -
(Spouse’ w am m mm MM mm E] An amended nling

_ . n A supplement showing postpetition chapter 13
United Sfafes Bank!'l.ipf€,y COUi`f for fhef DiSmCt Of Nevada expenses as of the following deter

grimth 17'10457 Mivi / oo/ YYYY

 

 

Officiai Form 106J
Schedule J: Your Expenses wis

Be as complete and accurate as possible. lt two married people are filing together, both are equally responsible for supplying correct
lnformation. lt more space is needed, attach another sheet to this forrn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

mib Your Househo|d

 

 

 

1. ls this a joint case?

d No. co to iine 2.
n Yes. Does Debtor 2 live in a separate household?

Ci No
n Yes. Debtor 2 must tile Officiai Form 106J~2, Expenses for Separate Househoid of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? n No
Dependent's relationship to Dependent’s Does clement live
Do not list Debtor 1 and d Yes. Fill out this information for D¢b\°r 1 °i’ D¢bf°f 2 age with you?
Debtor 2. each dependent ..........................
Do not state the dependents DAUGHTER 8 g N°
names. Yes
son ,L 9 N°
Yes
n No
n Yes
n No
n Yes
n No
n Yes
3. Do your expenses include w No
expenses of people other than

yourself and your dependents? n Yes

minimum ¥our ongoing Monthly Expensos

 

Estlmate your expenses es of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lt this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule l: Your lncome (Ofi'icial Form 106|.) Y°\" 9¥96"808
4. The rental or home ownership expenses for your residenoe. include first mortgage payments and
any rent for the ground or lot. 4. $------_499-'-@
if not included in line 4:
4a. Real estate taxes 4a. $
4b. Property. homeowners or renter’s insurance 4b. $
4c. Home maintenance repair, and upkeep expenses 4c. $
4d. Homeowner’s association or condominium dues 4d. $

Officiai Form 106J Schedule J: Your Expenses page 1

Case 17-10457-mi<n DOC 11 Entered 02/22/17 10:12:16 Page 26 of 44

Debtor1 DELlA RODR|GUEZ

5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Uti|ities:
6a. Eiectricity, heat, natural gas 6a.
6b. Water, sewer, garbage collection 6b.
6c. Telephone. cell phone, |nternet, satellite, and cable services 6c.
6d. Other. Speclfy: 6d.
7. Food and housekeeping supplies 7.
8. Childcare and children’s education costs 8.
9. Clothing, laundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medlcal and dental expenses 11.
12. Transportation. include gas, maintenance. bus or train fare.
Do not include car payments 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitabie contributions and religious donations 14.
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance 15a.
15b. Hea|th insurance 15b.
15c. Vehicle insurance 15c.
15d. Other insurance. Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Speclfy: 16.
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Speclfy: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your Income (Official Form 106|). 18.
19. Other payments you make to support others who do not live with you.
Speclfy: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a.
20b. Reai estate taxes 20b.
20a. Property. homeowner’s, or renters insurance 20a.
20d. Maintenance, repair, and upkeep expenses 20d.
20a. Homeowner’s association or condominium dues 20a.
Of|iciai Form 106J Schedule J: Your Expenses

 

First Name Midde Name Last Name

 

 

 

 

 

 

Case number (ifknawn) 17'10457

Your expenses

$

666666666666666666

66666666 66

66666666

6666666666

140.00

197.00

400.00

280.00
150.00

50.00
160.00

295.00

571 .00

page 2

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Debf°r 1 DELlA RODR|GUEZ Case number (,'fk,mw,,) 17'10457

Fbst Name M|dde Name Last Name

21. 0ther. Speclfy:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Officiai Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 220 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease ln your expenses within the year after you file this fonn?

For example, do you expect to tinish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a moditication to the terms of your mortgage?

m No.

a Yes. Expiain here:

Officiai Form 106J Schedule J: Your Expenses

21.

22a.

22b.

220.

23a,

23b.

23<:.

 

 

+$
$ 2,643.00

$
$ 2,643.00
$ 2,351.00
_ $ 2,643.00
$ -292.00

 

page 3

 

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Fill in this information to identify your case:

Debtor1 DELlA RODR|GUEZ

F‘nt Name Midde Name beat Name

Debtor 2
(Spou$e. ifiling) th Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Nevada

Case number 1 7-104‘37

(|f knovm)

iii Check ifthis is an
amended filing

 

 

Officiai Form 106Dec
Declaration About an individual Debtor’s Schedules ms

 

 

if two married people are filing together, both are equally responsible for supplying correct infonnatlon.

You must file this form whenever you file bankruptcy schedules or amended schedules. Illaklng a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in lines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy fom\s?

n No
w Yes. Name of person SHERR¥L R- RA¥ DBA EZB ASSOC .Attach Bankruptcy Petition Pneparefs Notr'oe, Dec/aration, and

Signature (Oliiciai Form 1 19).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

&i 7 x

 

Signature of Debtor 2

Date
MM/ DD / YYYY

 

Ofnciai Form 1OSDec Declaration About an individual Debtor’s Schedules

Case 17-10457-mi<n

Fill in this information to identify your casc:

DELlA RODR|GUEZ

Debtor 1

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th Name

Debtor 2 "'
(Spouee, if iiling) Firsr Name

Midde Name

Midde Name

United States Bankruptcy Court for the: District of Nevada
Case number 17'10457

Last Name

Last Name

 

 

 

E] check if this is an

m M> amended filing
Officiai Form 107
Statement of Financial Affairs for individuals Fiiing for Bankruptcy runs

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
infom\ation. if more space is needed, amch a separate sheet to this fonn. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Dotails About Your llarital Status and When You Lived Before

 

1. What is your current marital status?

El Mariied
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

El No
w Yes. List all of the places you lived in the last 3 years. Do not include where you live ncw.
Debtor1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor1 n Same as Debtor1
6904 coRNi=i_owER mm mm
Number Street Number Street
To To
LAS VEGAS NV 89128
City state ziP code city state ziP code
cl Same as Debtor 1 n Same as Debtor 1
From From
Number Street Number Street
To _ To
City state ziP code city state ziP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and ten'iton'es include An`zona, Califomia, ldaho, Louisiana, Nevadal New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

MNo

a Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

Expiain the Sources of Your income

 

thcial Form 107

Statement oi Financial Affairs for individuals Fiiing for Bankruptcy

page 1

Case 17-10457-ml<n

Dem1 DELlA RODR|GUEZ

 

Frret Name Mlddle Name

Last Name

Case number mmi 17'10457

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4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including pan-time activities.
if you are liling a joint case and you have income that you receive together, list it only once under Debtor 1.

L_.l No
w Yes. Firr in the details

From January 1 of current year until
the date you li|ed for bankruptcy:

For last calendar year:
(.lanuary 1 to Deoember 31 ,29]5 )
YYYY

For the calendar year before that:
(.lanuary 1 to December 31 , 2015 )
Yva

W~'l

Sourcee of Income
Check all that appiy.

m Wages, commissions

bonuses, tips
a operating a business

q Wages, commissions

bonuses, tips
a Operatlng a business

d Wages, commissions
bonuses. tips

a Operatlng a business

Groes income

(before deductions and
exclusions)

3 2,949.00

$ 45,791.00

5. Did you receive any other income during this year ortho two previous calendar years?
include income regardless of whether that income is taxable. Exampies of other income are alimony; child support; Social Security,
unemployment and other public beneht payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are lillng a joint case and you have income that you received together, list it only once under Debtor 1.

lehi'2

Sourcee al income
Check ali that appiy.

n Wages, commissions,

bonuses, tips
a Operating a business

a Wages, commissions

bonuses, tips
a Operating a business

a Wages, commissions
bonuses. tips

a Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

UNo

L_.l Yes. Firi in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31 .2016
YYYY

For the calendar year before that:

Soun:ee of income
Describe below.

Grou income from
each source

(before deductions and
exduelons)

nmi

Soun:ee ot income
Describe below.

 

 

 

 

 

(.lanuary 1 to December 31 ,2015 )
YYYY

 

Officiai Form 107

 

Statement of Financial Affairs for individuals Fiiing for Bankruptcy

Gross income

(before deductions and
exciusions)

Gme income from
each source

(before deductions and
exciusions)

page 2

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Debtor1 DELlA RODR|GuEZ Case number (ifknown) 17'10457

F'rstNeme MiddieNeme LaetName

List Certain Payments You llade Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

n No. Nelther Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as

“incurred by an individual primarily for a personal, familyl or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

n No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Cl No. co to line 7.

d Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Totai amount paid Amount you still owe
payment
LANDLORD/MANAGEMENT 02/01/2017 $ 1 ,200.00 $
Credltors Name
5075 SPYGLASS H|LL 01/01/2017
Number Street
12/01 /201 6
LAS VEGAS NV 89142
City State ZlP Code
$ $
Credltor‘s Name
Number Streel
City State ZlP Code
$ $
Credltor‘s Name
Number Streal
City State ZlP Code

Ofiicial Form 107 Statement of Financial Afia|rs for individuals Fiiing for Bankruptcy

Was this payment for...

n Mortgage

n Car

El credit card

n Loan repayment

n Suppllers or vendors
d other RENT

n Mortgage

n Car

n credit card

n Loan repayment

n Suppliers or vendors

n Other

n Mortgage

n Car

U credit card

n Loan repayment

n Suppiiers or vendors

n Other

page 3

Case 17-10457-mi<n DOC 11 Entered 02/22/17 10:12:16 Page 32 of 44

Debtor1 DELlA RODR|GUEZ

Case number (rr)rrrowr,i 17'10457
stt Name Middie Name L,s( Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an lnslder?
Insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ofticer, director. person in controi, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

UNo

g Yes. List all payments to an insider.

 

 

 

 

 

 

 

 

bates of Totai amount Amount you still Reason for this payment
payment paid owe
|SAURA BOZA (PARENT) 02/01/2017 $ 1,716.00 $ AUTO PA¥MENT ON 2015

insiders Name CHR¥SLER

01 /01 /201 7
Number Street __

12/01/2016
City State ZlP Code

$ $

insiders Name
Number Street
city State ziP code

B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNo

n Yes. List ali payments that benefited an insider.

bates of Totai amount Amount you still Reason for this payment
payment pa'd owe include creditors name

 

insiders Name $ $

 

Number Street

 

 

City State ZlP Code

 

insiders Name

 

Number Street

 

 

City State ZlP Code

Officiai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 4

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D°b*°" QEL|A RODR|GUEZ Case number trrirrrm) 17'10457

Fl\tName Mldd\¢Nam~ LastNamo

 

 

identify Lega| Actiens, Reposcesaiona, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action. or administrative proceeding?
List ali such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modiiications,

 

 

 

 

 

 

 

 

 

and contract disputes.
a No
§ Yes. Fiii iri the detaiis.
Nature of the case Court or agency Steius of the case
ClVlL LAWSU\T i_v .iusTicE couRT
ease tide PROGRESS|VE VS. mm Name a Pending
DELiA RoDRiGuEz 200 E LEW|S a °" °p°°°‘
Number street Cl concluded
case number 14C018094 LAS VEGAS NV 89101
city state ziP code
Case title Cm_",x Name a Pending
a On appeal
Number street El Cenduded
Case number
city stare zip code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, forecioud, gamished, attached, seized, or ievied?
Check aii that apply and iiii in the detaiis beiow.

d No. Go to line 11.
CJ Yes_ Fiii in tire information below.

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
$
creditors Name
Number street Expiain what happened
CJ Property was repossessed
n Property was foreclosed
n Property was gamished.
city state ziP code CJ Property was attached, seized, or ievied.
Describe the property Date Value of the property
$
Creditor‘s Name
Number Street
Expiain what happened
a Property was repossessed
CJ Property was foreclosed
my State Z‘P m a Property was gamished.

 

EJ Property was attached seized or ievied.

Ofnciai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 5

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Debtor 1 D_EL|A RODR|GUEZ Case number rifkrrewrri 17°10457

 

 

F`lst Name Middie Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

EiNo

El Yes. Fill iri the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
City State Z\P Code Last 4 digits of account number: XXXX-__ _ ___ _

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

g No
L_.l Yes

M:ist Certain Gifts and Contributlons

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

ENo

El Yes, Fill iri the details for each gifl.

 

 

 

 

 

 

 

 

Glfts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts
_ $
Person to Whorn Vou Gave the Grft
$
Number Streei
City State ziP Code
Person's relationship to you
Glfts with a total value of more than $600 Describe the gifts Detes you gave Value
per person the gifts
Person to Whom Vou Gave the Gift $
$
Number Sireei
City State ziP code

Person’s relationship to you

Officiai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 6

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Debtor1 DELlA RODR|GUEZ case number whom 17_10457

Fbst Name Middle Name Last Name

 

14.Withln 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

UNO

n Yes. Fill in the details for each gift or contribution.

 

 

 

 

 

 

Gii'ts or contributions to charities Describe what you contributed Date you Vaiue
that total more titan $600 contributed
$
Charity’s Name
$
Number Street
City State ZlP Code

List Certaln Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
dlsaster, or gambling?

MNO

El Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue of property
how the loss occurred _ _ _ loss lost
include the amount that insurance has pard. Llst pending lnsurance
claims on line 33 of Schedule A/B: Property.

Llst certain Payments or Transfers

j 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

n No
ii Yes. Fill in the details.

 

 

 

 

 

EZB ASSOC|ATES Description and value of any property transferred E::‘t;:eary:t:'nt or Amount of payment

Person Who Was Paid made

PO BOX 232171 BANKRUPTCY SERVlCE FEES PAlD

Number street 01 /27/201 7 $ 223.00
$

LAS VEGAS NV 89105

City State ziP Code

 

ezbassociates.com
Emaii or website address

 

Person Who Made the Payment, if Not You

Of|iciai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 7

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oewa DELlA RoDRlGuEz Case,,.,mbe,wm, 17-10457
FN Name Middie Name l.aet Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment
DEBTOR COUNSEL|NG
Pmon who was Paid BANKRUPTCY COUNSEL|NG FEE 2
ONL|NE 01/27/ 017 $ 14.95
Number street
$
city State ziP code
www.debtorcc.org
Emaii or website address

 

Persen Who Made me Payment, if Not You

f 11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

Ci Yes. Fill in the details

 

 

 

 

 

 

Descriptlon and value of any property transferred Date payment or Amount of payment
transfer was
made
Persen Who Wes Paid
$
Number street
$
City state ziP code

18. Within 2 years before you filed for bankruptcy, did you eeli, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your properiy).
§ not include gifts and transfers that you have already listed on this statement
No

Ci Yes. Fill in the details

Descrlption and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

city state ziP code
Person’s relationship to you

Person Who Received Transfer

Number Sii’eei

City State ZiP Code

 

Person’s relationship to you

Officiai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 8

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Debtor1 DELlA RODR|GUEZ Case number (,,,m,,,,, 17-10457

F‘nt Name Middie Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (T hese are often called asset-protection devices.)

ENo

Ei Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

Part 8: Llst 6ertalrr Financial Accounts, lnstrumerrte, Safe Depeslt Boxes, and Storege \.|n|ts

 

? 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held irr your name, or for your benefit,
` ciosed, soid, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial lnstltutions.

g No
ill Yes. Fllr rn the details
Last 4 digits of account number Type of account or Date account was Last balance before

instrument ciosed, sold, moved, closing ortransfer
or transferred

 

Name of Financial insdtutiorr
XXXX- n Checklng $

 

Number street n Savings
n Money market

 

n Brokerage

 

City State ZlP Code n other

xxxx__ n Checklng 3

 

Name of Financial institution
n Savings

 

Number Street n Money market
n Brokerage

 

n Other

 

city sure ziP code

3 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
` securities, cash, or other valuables?

a No
C] Yes. Fill in the dewiis.

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
n No
Name of Financial institution N.m n YBS
N"'“b°' S"'°" Number street
City State ZlP Code

 

 

City State ZlP Code

thciai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 9

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Debtor1 DELlA RODR|GUEZ Case number (iiknown) 17'10457

First Name Middie Name last Name

r 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
Cl Yes. i=iii in the dewiis.

x

 

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
a No
Name of Storage Facillty Name a yes
Number Street Number Street

 

 

citystm ziP code

 

city state ziP code

m ldcntlfy,ropertyYoul'loldor¢ontrolforSomoonollso

" 23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
a No
ii ves. Fiii in the dewiis.

 

 

 

 

 

 

Where is the property? Describe the property Vaiue
|SAURA BOZA (MOTHER) 2015 CHRYSLER (DEBTOR
Owner's Name POSSESS|ON - MAK|NG $
DEB::§ RES'DENCE REGuLAR PAYMENTS To
Number street MOTHER FOR VEH|CLE
FiNANCED BY MOTHER)
City state ziP code

 

city state ziP code

mlvo Deblls About Envlrorm\elltal information

 

For the purpose of Fart 10, the following definitions appiy:

n Environmental law means any federai, state, or local statute or regulation concemlng poiiution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, iand, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materiai.

1 Site means any iocation, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, poiiutant, contaminant, or similar term.

Report ali notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

due

Cl ves. Fiii in the detaiis.

 

 

 

Govemmenta| unit Env|ronmentai |aw, if you know it Date of notice
Name of site Govemmentai unit
Number Street Number Street

city stm ziP code

 

ley State ZlP Code

Officiai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 10

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oewa DELlA RODRlGuEz Camumbemm> 17-10457

i='lm mm uiddl¢ iam ust Name

 

 

25. Have you notified any governmean unit of any release of hazardous material?

MNo

El Yes. Fill in tile details

 

 

 

Govsmmentsi unit Envlrenmentai law, if you know it Date of notice
Name of site Governmentai unit
Number Strest Number Street
city state ziP code

 

city slate ziPcdd¢

26. Have you been a party ln any judicial or administrative proceeding under any environmental iaw? include settlements and orders.

aNo

El Yes. Fill in tile details

 

 

 

 

 

c°\"'\ °" IQ¢"°V Nsturs of the case :;:':‘ °f me
Case tide cl
court Name Pending
n On appeal
Number arrest n Conciuded
Case number my z'P

-Civsbotalislbout¥ourluslnsssor¢enneetionstelnylusiness

 

21. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
El A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part~tlme
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
cl A partner in a partnership
n An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

5 No. None ot tile above applies co to Palt 12.
n Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Empioysr identincation number
Do not include Social Security number or iTlN.

 

Susiness Name

 

 

 

 

 

 

 

 

 

 

ElN _____-_____________
Number Strset
Name of accountant or bookkeeper bates business existed
From To
city sun ziP code
Describe the nature of the business Empioyer identification number
m mm Do not include Social Security number or I‘liN.
EiN ___-_____________
Number street
Name of accountant or bookkeeper Dates business existed
From To
city stan ziP code

 

Officiai Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 11

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Debtor1 DELlA RODR|GUEZ ease number whom 17_10457

Firsl Name Middls Name Last Neme

 

Employer identification number
Do not include Social Security number or l'iiN.

Describe the nature of the business

 

 

 

Businsss Name

ElN' _____-_____________
N ' c l md Name of accountant or bookkeeper Datas business existed

From To
city stare ziP code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your busineu? include all financial
institutions, creditors, or other parties.

mNo

Ci vee. Fill in me details velew.

Date issued

 

N*m¢ MulnnlYYYY

 

Number Street

 

 

City State ZlP Code

m----

i have mad the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct. i understand that making a false stetement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

‘x ` x
50

 

‘ iv \J`--J
signature {i;oebi:>r 1 signature er Debwr 2

Date 1 20 \`qr Date

Did you ana add&;nai pages to Your Statement of Financial Affairs for individuals Fiiing for Bankruptcy (Official Form 107)?

w No
a Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

a No

m Yes. Name of person SHERRYL R- RA¥ DBA EZB ASSOC|ATES . Attaoh the Bankruptcy Petition Preparer’s Notioe,
Declaration, and Signature (Official Form 119).

Of|icia| Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 12

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Fill in this information to identify your case

Cl‘iec.l\ one box only as directed in this form and in

Form 122A-i Siii)p

 

Debtor1 D_ELIA RODR|GUEZ

 

 

 

m mm me mm g 1. There is no presumption of abuse.
Debtor 2
(Sp°use. iffiling) F‘m N¢m¢ Midd~ N~m¢ n 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
U""i°d Sfaies Bankruptcy C°““ f°' mei Dism°t of Nevada Means Test Calculation (Official Form 122A-2).
Case number 17-10457 Ci 3. The Means Test does not apply now because of
(" k"°"'") qualified military service but it could apply |ater.

 

 

El cheek ir this is an amended filing

Officiai Form 122A-1
Chapter 7 Statement of Your Current Monthly income 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. if more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2)(01ficlal Form 122A-1Supp) with this form.

nicholas Your Current Monthly income

 

 

1. What is your marital and filing status? Check one on|y.

d Nol married Fill out column A, lines 2-11.
n Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

n Marrled and your spouse is NOT filing with you. You and your spouse are:
a Livlng in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Ei Livlng separately or are legally separated Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Tesi requirements 11 U.S.C. § 707(b)(7)(B).

Fiil in the average monthly income that you received from all sources, derived during the 6 fuii months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
Augusi 31. if the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the resuit. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime and commissions
> (before all payroll deductions). ' $_B_,BQO

y 3. Alimony and maintenance payments. Do not include payments from a spouse if
‘ Column B is filled in. $__.__ $

4. Ali amounts from any source which are regularly paid for household expenses

' of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household, your dependerils, parents,

and roommates. include regular contributions from a spouse only if Column B is not

$

 

 

 

 

iilied in. co nor include paymenle you listed on line 3. $_.__ $
z 5. :'e:ai:::`ome from operating a business, profession, Debtor1 Debtorz

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses - $ - $

Net monthly income from a business, profession, or farm $ $ ::r';y_) $ $
' 6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before ali deductions) $ $

Ordinary and necessary operating expenses - $ - $

Net monthly income from rental or other real property $ $ ::r';y_)

€H€I'i

: 7. interest dlvi`dends, and royalties

Officiai Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 1

Debtor1 _DEL|A RODR|GUEZ case number irwin 17-10457
Fh.t Name Middie Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ $
Do not enter the amount if you contend that the amount received was a benefit
under the social security Acr. lnsreed, list ii here: ............................... $
For you .................................................................................. $
For your spouse ................................................................... $
~ 9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act $ $
§ 10. income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.
Totai amounts from separate pages, if any. + $ + $
; 11. Calculate your total current monthly Income. Add lines 2 through 10 for each

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column. Then add the total for Column A to the total for Column B. $ 3,873.00- + $

Part 2: Detormine Whethor the Means Test Applies to You

f 12.

13.

 

 

= s 3,873.00

 

 

Totai current
monthly income

 

Calculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here')

Muitiply by 12 (the number of months in a year).

12b. The result is your annual income for this part of the fonn. 12b.

Calculate the median family income that applies to you. Fo|low these steps:

Fill in the state in which you live. NV
Fill in the number of people in your househo|d. 3
Fill in the median family income for your state and size of household. ............................................................................................. 13.

To find a list of applicable median income amounts, go online using the link specified in the separate
instn.lctions for this fom'l. 'i`his list may also be available at the bankruptcy clerk’s office.

. How do the lines compare?

14a i Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

s 3,873.00
x 12
sAB.AZ&.Oi)

 

 

$61,211.00

 

14b. cl Line 12b is more than line 13. On the top of page 1. check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A-2.

 

 

 

By signin ~ _ enalty of perjury that the information on this statement and in any attachments is true and correct
Signature of Debtor 2
’ Date

MM/ DD /YYYY

 

|f you checked line 14a, do NOT fill out or file Form 122A-2.
lf you checked line 14b, fill out Form 122A-2 and file it with this form.

Officiai Form 122A-1 Chapter 7 Statement of Your Current Monthly income

page 2

 

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Fill in this information to identity your case:

Debtor1 DELlA RODR|GUEZ

th Name Midde Name

Debtor 2
(Spouae, if hling) F‘m Name Midde Name

 

United States Bankruptcy Court for the; District of Nevada

oasenumeei 17_10457 El check irinis ls an
(lrknown) amended filing

 

 

Officiai Form 108
Statement of intention for individuals Fiiing Under Chapter 7 wis

if you are an individual filing under chapter 1, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the fonn.

if two married people are filing together in a joint case, both are equally responsible for supplying correct infonnation.
Both debtors must sign and date the fonn.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (if known).

must Your Credltors Who Have Socured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?

Credltor’s

name: N/A TH|S FORM n Surrender the Property. m NO

cl Retain the property and redeem it. Cl Yes
` ' n f

Er:spc;':;° o cl Retain the property and enter into a
securing debt; Reafiirrnation Agreemenf.

cl Retain the property and [explain]:

 

Credltor’s

names cl Surrender the property. cl No
_ v cl Retain the property and redeem it. Cl Yes

greo;c::;lon of a Retain the'property and enter into a

securing debt; Reafiirrnat/on Agreement.

a Retain the property and [explain]:

 

Credltor’s Cl Sunender the property a NO

name:

D cl Retain the property and redeem it. Cl Yes
e ` tion f

prosp;rxy o a Retain the property and enter into a

securing debt Reafiirrnation Agreement.

a Retain the property and [explain]:

 

Credltor’s

name: cl Surrender the property. cl No
_ _ a Retain the property and redeem it. Cl Yes

geo;;n:;'°n of m Retain the property and enter into a

securing debt: Reafiirrnation Agreemenr,

cl Retain the property and [explain]:

 

Officiai Form 108 Statement of intention for individuals Fiiing Under Chapter 1 page 1

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owen DELlA RODR|GUEZ Case number (,fk,,ow,,, 17-10457

F'lst Name Midde Name Llst Name

 

List Your Unexpired Porsonai Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still ln effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wili the lease be assumed?

Lessors name: lJ No
i;i Yes

Description of leased

property:

Lessor's name: ill No
lIl v

Description of leased es

property:

Lessor’s name: ij No

Description of leased a Yes

propertyr

Lessor’s name: i;i No
ill Yes

Description of leased

properly:

Lessor”s name: i;i No
i;i Yes

Description of leased

property:

Lessor’s name: i;i No

. ill Yes

Descriptlon of leased

property:

Lessor’s name: Cl No
i;i Yes

Description of leased
property:

Under penalty of periury, l declare that l have indicated my intention about any property of my estate that secures a debt and any

perso al pr subject to an unexpired lease.
t x x

 

\ \
Signatulé,of Debt 1 Signature of Debtor 2

Date 62 ( 26 al Date

  

MMI DDI YYYY

Officiai Form 108 Statement of intention for individuals Fiiing Under Chapter 7 page 2

